






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00387-CR


NO. 03-06-00388-CR








Reginald Shelby, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT


NOS. D-1-DC-06-200277 &amp; D-1-DC-06-200278


HONORABLE BRENDA KENNEDY, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Appellant's brief was due August 28, 2006.  The brief has not been received, no
extension of time has been requested, and appellant's appointed attorney, Mr. Craig F. Sandling, did
not respond to this Court's notice that the brief is overdue.

The appeals are abated.  The trial court shall conduct a hearing to determine whether
the attorney it appointed to represent appellant has abandoned the appeals.  Tex. R. App. P.
38.8(b)(2).  The court shall make appropriate findings and recommendations.  If necessary, the court
shall appoint substitute counsel who will effectively represent appellant in these causes.  




A record from this hearing, including copies of all findings and orders and a transcription of the court 

reporter's notes, shall be forwarded to the Clerk of this Court for filing as a supplemental record no
later than November 17, 2006.  Rule 38.8(b)(3).



				__________________________________________

				Bob Pemberton, Justice

Before Justices B. A. Smith, Pemberton and Waldrop

Filed:   October 26, 2006

Do Not Publish


